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                                                                            e-mail: kmarino@khmarino.com



                                         January 11, 2022


 VIA ECF
 Honorable Michael A. Hammer, U.S.M.J.
 United States District Court
 MLK, Jr. Federal Bldg. & Courthouse
 50 Walnut Street, Room 2060
 Newark, NJ 07102

        Re:    Aleynikov v. The Goldman Sachs Group, Inc.,
               No. 2:12-cv-5994-KM-MAH

 Dear Judge Hammer:
         During the status conference before your Honor on August 24, 2021, the Court indicated
 that this matter would be stayed pending the Third Circuit’s decision on Mr. Aleynikov’s appeal.
 As that stay was not entered on the docket, however, the parties jointly and respectfully request
 that you issue a text order staying the matter as of that day pending the Third Circuit’s ruling.
        Thank you for your attention to this matter.
                                              Respectfully,


                                              Kevin H. Marino

 cc:    Honorable Kevin McNulty, U.S.D.J.
        All counsel of record
